Case 1:25-cv-01309-BMC          Document 11       Filed 03/27/25      Page 1 of 1 PageID #: 78




UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
_____________________________________
In the Matter of S.S. and A.S.,       )
                                      )
DORAN ANTHONY SATCHEL                 )
                                      )                     AFFIRMATION OF SERVICE
                        Petitioner,   )
                                      )                     No. 1:25-cv-01309
vs.                                   )
                                      )
RENE ALEXIS KIZZI SATCHEL             )
                                      )
                        Respondent.   )
_____________________________________)


       I, Camilla Redmond Costa, declare under penalty of perjury that I have served via Fedex

Overnight Mail and First Class Mail a copy of the Request for Certificate of Default (ECF No. 10),

Declaration in Support (ECF No. 10-1), and Clerk’s Proposed Certificate of Default (ECF No. 10-

2) upon Respondent Rene Alexis Kizzi Satchel whose address is: 420 MacDonough St, Brooklyn,

NY 11233.



Dated: March 26, 2025
       New York, New York


                                                    ________________________
                                                    Camilla Redmond Costa, Esq.
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